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                               UNITED STATES DISTRICT CO U RT
                               SO UTH ERN DISTR IC T O F FLO RIDA

                                   CA SE N O . 12-20291-CR-C M A


    UN ITED STATES O F AM ERIC A,

     VS.

     ARM AN DO G ON ZA LEZ,

                   Defendant.
                                                     /

                                        PLEA A G REEM ENT

            The U nited StatesofAm erica,by and through the Fraud Section ofthe Crim inalD ivision

     ofthe Departm entofJustice and the United States Attorney's Office forthe Southern D istrictof

     Florida (hereinafter referred to as the içunited States''), and ARM ANDO GONZALEZ
     (hereinafterreferredtoastheisdefendanf'),enterintothefollowingagreement:
            l.     The defendant agrees to plead guilty to Count 1 of the lndictm ent. Count 1

     charges that the defendantknowingly and willfully combined,conspired, confederated and

     agreed w ith others to violate Title 18.United States Code, Section 1347,that is,to execute a

     scheme and artiGce to defraud a health care benetstprogram affecting com m erce,as defined in

     Title 18.United States Code, Section 24(b),that is,M edicare,and to obtain,by means of
     materially false and fraudulent pretenses, representations, and prom ises, m oney and property

     ow ned by,and underthe custody and controlof,said health care benefitprogram ,in connection

     with the delivery of and paym ent for health care benefits, item s,and services, in violation of

     Title 18,United StatesCodesSection 1349.
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                  The defendantalso agreesto plead guilty to Count 11 ofthe Indictm ent.Count 1l

     charges thatthe defendant knowingly combined, conspired,and agreed w ith others to violate

     Title 18,United States Code,Section I956,that is,by know ingly conducting and attem pting to

     conduct financial transactions affecting interstate com m erce and foreign com m erce, w hich

     transactions involved the proceeds of health care fraud, in violation of Title 18, United States

     Code,Section l347,know ing thatthe transactions were designed in w hole or in partto conceal

     and disguise the nature, Iocation,source,ow nership, and controlof the proceeds of specified

     unlawful activity, and that while conducting and attem pting to conduct such financial

     transactions, knew that the property involved in the Gnancial transactions represented the

     proceeds of health care fraud, in violation of Title l8, United States Code, Section

     1956(a)(l)(B)(i).
                   The defendant is aware that the sentence willbe im posed by the Court. The

     defendant understands and agrees that federal sentencing Iaw requires the Court to im pose a

     sentence that is reasonable and thatthe Courtm ustconsider the FederalSentencing G uidelines

     and Policy Statements (hereinafter issentencing Guidelines'') in effect at the time of the
     sentencing in determ ining that reasonable sentence. The defendant acknowledges and

     understands thatthe Courtw illcompute an advisory sentence under the Sentencing G uidelines

     and thatthe applicable guidelinesw illbe determ ined by theCourtrelying in parton the results of

     a Pre-sentence lnvestigation by the Court's Probation Office, which investigation w ill

     com m ence afterthe guilty plea hasbeen entered. The defendantisalso aware that,undercertain

     circum stances,the Courtm ay departfrom the advisory sentencing guideline range that it has

     com puted,and may raise or Iow erthatadvisory sentence underthe Sentencing G uidelines. The


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     defendant is further aw are and understands that while the Court is required to consider the

     advisory guideline range determined underthe Sentencing Guidelines,itis notbound to im pose

     thatsentence. Defendantunderstandsthatthe factsthatdetenmine the offense levelwillbe found

     by the Court at the tim e of senttncing and that in m aking those determ inations the Court may

     considerany reliable evidencesincluding hearsay,aswellastheprovisionsorstipulationsinthis

     Plea Agreem ent. The United States and the defendant agree to recom m end thatthe Sentencing

     Guidelines should apply pursuantto United States v.Booker,thatthe G uidelines provide a fair

     andjustresolution based onthefactsofthiscase.and thatno upward ordownward departures
     are appropriate otherthan the reductions foracceptance ofresponsibility. The Courtis perm itted

     to tailor the ultim ate sentence in light of other statutory concerns, and such sentence m ay be

     eitherm ore severe or less severe than the Sentencing Guidelines'advisory sentence. Know ing

     these facts.the defendant understands and acknow ltdges that the Court has the authority to

     im pose any sentence w ithin and up to the statutory maximum authorized by Iaw forthe offenses

     identitsed in paragraphs l and 2 and thatthe defendantm ay not w ithdraw the plea solely as a

     resultofthe sentence im posed.

            4.     The defendantalso understands and acknowledges thatas to Count 1,the Court

     may imposeastatutorymaximum term ofimprisonmentofuptoten(10)years,andastoCount
     1ItheCourtmay imposea statutory maximum term ofimprisonmentofup totwenty (20)years.
     In addition to any period of im prisonm ent,the Court may also im pose a period of supervised

     releaseofuptothree(3)yearstocommenceattheconclusionoftheperiod ofimprisonment.In
    addition to a term ofim prisonm entand supervised release,the Courtm ay im pose a fine ofup to

    thegreaterof$250,000,ortwicethepecuniary gainorIosspursuantto 18U.S.C.j 357l(b)(3)
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     and (d)asto thehealthcarefraud offense anda penalty ofnotmorethan the greaterofthevalue
     ofthe property,fundsorinstruments involved in the transaction;or $10,000 asto the money
     Iaundering offense.

                   The defendant further understands and acknow ledges that, in addition to any

     sentence im posed underparagraph 4 ofthis agreement,a specialassessm entin the totalam ount

     of$200 willbe imposed on the defendant. The defendantagreesthatany specialassessment
     im posed shallbe paid atthe tim e ofsentencing.

            6.     The defendant understands and acknow ledges that as a result of this plea,the

     defendant w ill be excluded from M edicare, M edicaid, and aII Federal health care program s.

     Defendantagreesto com plete and execute allnecessary documents provided by any departm ent

     oragency ofthefederalgovernment,including butnotlimited to the United States Department

     of Health and Hum an Services,to effectuate this exclusion w ithin 60 days of receiving the

     documents.This exclusion w illnotaffectdefendant's rightto apply for and receive benefits as a

     beneficiary underany Federalhealth care program ,including M edicare and M edicaid.

                   The defendant recognizes that pleading guilty m ay have consequences with

     respectto the defendant's im m igration status ifthe defendantis nota natural-born citizen ofthe

     United States. Undtrfederallaw ,a broad range ofcrim ts are rem ovable offenses,including tht

     offense to which the defendant is pleading guilty. In addition, under certain circum stances,

    denaturalization may also be a consequence of pleading guilty to a crime. Rem oval,

    denaturalization.and otherimmigration consequencesarethesubjectofaseparateproceeding,
     however.and defendantunderstandsthatno one,including the defendant'sattorney orthe Court,

     can predictto a certainty the effectofthe defendant'sconviction on the defendant's im m igration


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     status. The defendantnevertheless affsrm sthatthe defendantchooses to plead guilty regardless

     ofany im m igration consequencesthatthe defendant'splea m ay entail,even ifthe consequence is

     the defendant'sdenaturalization and autom atic rem ovalfrom the United States.

                   The defendantshallcooperate with law enforcem entofficials,attorneys with the

     United States Department of Justice and United States Attorney's Oftsce for the Southern

     DistrictofFlorida,and w ith federalregulatory ofscialscharged w ith regulating oroverseeing the

     M edicare program by providing full,complete and truthfulinfonmation regarding hisknow ledge,

     conduct and actions w hile involved in health care and by providing active cooperation in

     ongoing investigationsifrequested to do so. lfcalled upon to do so,the defendantshallprovide

     completeandtruthfultestimony beforeany grandjury ortrialjul'
                                                                y in any criminalcase,inany
     civilproceeding or trial,and in any adm inistrative proceeding or hearing. In carrying out his

     obligations under this paragraph, defendant shall neither m inim ize his own involvement nor

     fabricates m inim ize or exaggerate the involvem ent of others. If the defendant intentionally

     provides any incom plete or untruthful statements or testim ony,his actions shall be deem ed a

     m aterialbreach ofthis agreement and the United States shallbe free to pursue al1appropriate

     charges against him notw ithstanding any agreem ents to forebear from bringing additional

     chargesasm ay be otherwise setforth in thisagreem ent.

                   The defendant shall provide the Probation Offsce and counsel for the United

     States w ith a full,com plete and accurate personalfinancialstatem ent. Ifthe defendantprovides

     incom plete or untruthful statem ents in his personal financial statem ent, his action shall be

     deem ed a m aterial breach of this agreem ent and the United States shall be free to pursue alI

     appropriate charges against him notw ithstanding any agreem ents to forbear from bringing


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     additionalchargesotherwise setforth in thisagreem ent.

            l0.    Provided thatthe defendantcomm its no new crim inaloffenses and provided he

     continues to demonstrate an affirmative recognition and affirm ative acceptance of personal

     responsibility for his crim inal conduct, the United States agrees that it w ill recom m end at

     sentencing that the defendant receive a three Ievel reduction for acceptance of responsibility

     pursuantto Section 3El.1 ofthe Sentencing Guidelines,based upon the defendant's recognition

     and affirmative and tim ely acceptance of personalresponsibility. The United States,however,

     willnot be required to make this sentencing recommendation if the defendant: (1) fails or
     refuses to m ake a full.accurate and com plete disclosure to the United States and the Probation

     Office of the circumstances surrounding the relevantoffense conduct and his presentfinancial

     condition;(2)isfound to havemisrepresented factsto the United Statespriorto entering this
     pleaagreement;or(3)commitsany misconductafterentering into thisplea agreement,including
     butnotIim ited to com m itting a state or federaloffense,violating any term of release,orm aking

     false statem entsorm isrepresentationsto any governm entalentity orofficial.

                   The United States reserves the rightto inform the Courtand the probation office

     ofaIlfacts pertinentto the sentencing process,including alIrelevantinform ation concerning the

     offenses com m itted, whether charged or not, as well as concerning the defendant and the

     defendant's background. Subject only to the expressterms ofany agreed-upon sentencing
     recomm endationscontained in thisplea agreem ent.the United States further reservesthe rightto

     make any recom mendation asto the quality and quantity ofpunishm ent.

            12.    The United States reserves the right to evaluate the nature and extent of the

     defendant's cooperation and to m ake the defendant's cooperation,or lack thereof.know n to the


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     Courtatthetimeofsentencing.lfinthesoleand unreviewablejudgmentofthe United States
     the defendant'scooperation is ofsuch quality and significance to the investigation orprosecution

     of other crim inal matters as to warrant the Court's dow nward departure from the sentence

     advised by the Sentencing Guidelines,the United States m ay at or before sentencing m ake a

     motion pursuant to Title 18.United States Code, Section 35534*, Section 5K1.1 of the
     Sentencing Guidelines,orsubsequentto sentencing by motion pursuantto Rule 35 ofthe Federal

     Rules of Crim inal Procedure,retlecting that the defendant has provided substantial assistance

     and recom m ending a sentence reduction. The defendantacknow ledgesand agrees,how ever,that

     nothing in this A greement m ay be construed to require the United States to file such a m otion

     and that the United States' assessment of the nature, value, truthfulness, com pleteness, and

     accuracy ofthe defendant'scooperation shallbe binding on the defendant.

                    The defendant understands and acknow ledges that the Court is under no

     obligation to grant a m otion by the United States pursuant to Title l8, United States Code,

     Section 3553(e),5K1.1oftheSentencingGuidelinesorRule 35ofthe FederalRulesofCriminal
     Procedure,as referred to in paragraph 12 ofthisagreem ent,should the U nited Statesexercise its

     discretion to Gle such a m otion.

            14.     The defendantadm its and acknow ledgesthatthe follow ing facts are true and that

     the United Statescould prove them attrialbeyond a reasonable doubt:

            (a)     Thatthe defendant's participation in the conspiracy and scheme and artifice to
                    defraud a governm ent health care program s, to include M edicare and Florida
                    M edicaid,resulted in an intended lossofatleast$63,745.000;

            (b)     Thatthescheme involved sophisticated means;
                    Thatthe defendantw asthe leaderororganizerofthe health care fraud conspiracy
                    thatinvolved five orm ore participantsand wasotherwise extensive;

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                  (d)Thatthe defendantconducted Gnancialtransactions involving proceedsofhealth
                     carefraud in an amountgreaterthan $400,000 butIessthan$1,000,000;and,
                  (e)Thatthe defendanthad neitherand aggravating ormitigating role in the money
                     Iaundering conspiracy.

            15.      Based on the foregoing,the United States and the defendantagree that,although

     notbinding on the probation oftsce orthe Court,they willjointly recommend thatthe Court
     impose a sentence w ithin the advisory sentencing guideline range produced by application ofthe

     Sentencing G uidelines. A lthough not binding on the probation office orthe Courtsthe United

     Statesand the defendantfurtheragree that,exceptasotherwise expressly contemplated in this

     plea agreement,they willjointly recommend thatthe Courtneitherdepartupward nordepart
     dow nward under the Sentencing Guidelines w hen determ ining the advisory Sentencing

     Guideline range in this case. Further,the United States and the defendant agree,although not

     binding on the probation office or the Courq that there are no factors or circum stances which

     would supportor otherwise suggestthe propriety of the Court's finding of any variance under

     Title 18,United StatesCode,Section 3553(a).The partiesagree that,atthetime ofsentencing,
     the United Statesw illrecom m end a sentence atthe low end ofthe Sentencing G uidelines.

                     The U nited States and the defendant agree that, although not binding on the

    probation office orthe Court,they willjointly recommend thatthe Courtmake thefollowing
    Gndingsand conclusions asto the sentenceto be im posed:

                     BaseOffenseLevel: Thatthe baseoffense Ievelissix (6),pursuantto Section
                     2B1.1(a)(2)oftheSentencingGuidelines.
            (b)      Loss: Thatthe defendant'soffense levelshallbe increased by twenty four(24)
                     levels pursuantto Section 28 1.l(b)(I)(M ) because the actualor intended Ioss
                     related to the health care fraud scheme was approximately $63,745,000. This
                     tsgure representsthe fraudulentbillingsforhealth care item s and services,know n
                     as ofthe date ofthis agreem ent,thatw ere subm itted to the M edicare and Florida

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                   Medicaid programs by Health Care SolutionsNetwork CSHCSN'')both in the
                   StatesofFlorida and N orth Carolina during the defendant'sow nership ofHCSN .

                   Sophisticated M eans: Thatthe defendant's offense levelshallbe increased by
                   two (2)Ievels pursuantto Section 2B.1.l(b)(l0) because the offense involved
                   sophisticated m eans.

            (d)    Agxravating Role: That the defendant's offense level shallbe increased by
                   four(4)levelspursuanttoSection381.1(b)becausethedefendantwasaleaderor
                   organizer and the crim inal activity involved Gve or m ore participants and w as
                   otherw ise extensive.

                   TO TAL O FFEN SE LEV EL - UN ADJU STED                                  36

            (e)    Acceptance of Responsibility: That the defendant's offense Ievel shall be
                   decreasedbythree(3)levelspursuantto Sections3E1.1(a)and3El.1(b)because
                   the defendant has clearly demonstrated acceytance of responsibility for his
                   offenseandassistedauthoritiesintheinvestigatlonofandgrosecutionofhisown
                   m isconduct by tim ely notifying authorities of his intentlon to enter a plea of
                   guilty.

                   TOTA L O FFEN SE LEVEL - ADJU STED


                   The defendant acknow ledges and understands that additional or different

     enhancem entsorguideline provisions,including an increase due to the defendant's pastcrim inal

     history,m ightbe applicable,and that neitherthe Coul'
                                                         t nor Probation are bound by the parties'

    jointrecommendations.
            18.    The defendantagreesto forfeitto the United States,voluntarily and im m ediately,

     allofhis right,title and interestto any property,realorpersonal.thatconstitutes or is derived,

     directly or indirectly, from gross proceeds traceable to the com m ission of the offenses of

     conviction,pursuantto l8 U.S.C.j982(a)(7),andtheproceduressetforth in 21U.S.C.j 853.
     The defendantspecifically agreesto the entry ofa personalmoney judgment in the sum of
     $28,092,283 in United States currency,which sum represents gross proceeds traceable to the

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     health care fraud alleged in Count1ofthe Indictment,in violationof18 U.S.C.jj 1347and
     l349. The defendantfurther agrees to forfeitto the United States,voluntarily and im m ediately,

     alI of the defendant's right, title and interest in the follow ing substitute property, and

     acknow ltdges thatsaid property m ay be forfeited,in partialsatisfaction oftht orderofforfeiture

     enteredinthiscase:i)funds,includinginterest,intheapproximateamountof$987,910.49,inJP
     MorganChaseAccountNumber3005659296 inthenameofHealthCareSolutionsNetwork;ii)
     the realproperty Iocated at 170 Old Naples Road,Naples,North Carolina 28760;iii)the real
     property located at640 Grand OaksDrive.H endersonville,N orth Carolina28792.

                   The defendant also agrees thatthe defendant shallassistthe United States in alI

     proceedings,whetheradministrativeorjudicial.involving theforfeiture,disgorgement,transfer
     orsurrenderofaIlright,title,and interest,regardlessoftheirnature or form ,in the assets w hich

     the defendant has agreed to forfeit, disgorge, transfer or surrender, and any other assets,

     including real and personal property,cash and other monetary instrum ents,wherever located,

     which the defendantorothers to hisknow ledge have accum ulated as a rtsultofillegalactivities.

     Suchassistancewillinvolvean agreementondefendant'spal'ttotheentryofanorderenjoining
     thetransferorencumbrance ofassetswhich may be identified asbeing subjectto forfeiture,
     disgorgement,transferor surrender.including butnotIim ited to those specific realand personal

     properties setforth in the forfeiture countof the Information. Additionally,defendantagrees to

     identifyasbeingsubjecttoforfeitureaIIsuchassets,andtoassistinthetransferofsuchproperty
     by delivery to the United States upon the United States'request,aIlnecessary and appropriate

     docum entation w ith respectto said assetssincluding consents to forfeiture,quitclaim deeds and

     any and allotherdocum ents necessary to delivergood and m arketable title to said property, To


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     the extentthe assets are no longer w ithin the possession and controlor name of the defendant,

     the defendantagreesthatthe U nited Statesm ay seek substitute assets w ithin the meaning of21

     U.S.C.j853.
            20.    The defendant know ingly and voluntarily agreesto waive any claim or defenses

     hemay haveundertheEighth Amendm enttotheUnited StatesConstitutionsincluding any claim

     ofexcessive Gne orpenalty w ith respectto the forfeited assets. Defendantfurtherknow ingly and

     voluntarilywaiveshisrightto ajurytrialon thtforfeiture ofsaid assets,waivesany statuteof
     Iimitations with respect to the forfeiture of said assets,and waives any notice of forfeiture

     proceedings.whetheradministrativeorjudicial,againsttheforfeited assets. Defendantwaives
     any rightto appealany orderofforfeitureentered by the Courtpursuantto thisplea agreem ent.

            2 1.   The defendant acknow ledges that because the offenses of conviction occurred

     afterApril24,l996,restitution is m andatory w ithoutregard to the defendant'sability to pay and

     thatthe Courtm ustorderthe defendantto pay restitution for the fullIosscaused by hiscrim inal

     conductpursuantto Title 18,United StatesCode,Section 3663A .

            22,    The defendant is aware that the sentence has not yet been determ ined by the

     Court. The defendant is also aw are that any estim ate of the probable sentencing range or

     sentence that the defendant may receive, w hether that estim ate com es from the defendant's

     attorney,the United States,or the Probation Office, is a prediction,not a prom ise, and is not

     binding on the United States,the Probation Office or the Court. The defendant understands

     further that any recom m endation that the United States m akes to the Court as to sentencings

     whether pursuantto thisagreementorothelw ise.is notbinding on the Courtand the Courtmay

     disregard the recom m endation in its entirety. The defendantunderstands and acknow ledges,as


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     previously acknow ledged in paragraph 3 above,thatthe defendant may not withdraw his plea

     based upon the Court's decision not to accept a sentencing recom m endation m ade by the

     defendant,theUnited States,ora recommendationmadejointly by both thedefendantand the
     United States.

            23.    The defendantisawarethatTitle 18.United StatesCode,Section 3742 affordsthe

     defendant the right to appeal the sentence imposed in this case. Acknow ledging this, in

     exchange forthe undertakings m ade by the United States in this plea agreem ent, the defendant

     hereby w aives allrights conferred by Section 3742 to appealany sentence im posed, including

     any forfeiture orrestitution ordered,orto appealthe m anner in w hich the sentence was im posed,

     unlessthe sentence exceeds the maximum perm itted by statute or is the resultofan upward

     departure and/or a variance from the guideline range that the Courtestablishes at sentencing.

     The defendant further understands that nothing in this agreement shallaffect the right of the

     United States and/or its duty to appealas set forth in Title 18, United States Code, Section

     3742(b). However,ifthe United States appealsthe defendant's sentence pursuantto Section
     3742(b),the defendantshallbe released from the above waiverofappellate rights. By signing
     this agreement,the defendant acknow ledges that he has discussed the appealwaiversetforth in

     this agreem entwith his attorney. The defendantfurtheragrees,togetherw ith the United States,

     to requestthatthe districtCourtentera specific finding thatthedefendant'swaiverofhis rightto

     appealthe sentenceto be imposed in this case w as knowing and voluntary.

            24.    For pum oses of crim inalprosecution,this Plea A greem ent shall be binding and

     enforceable upon the Fraud Section ofthe Crim inalD ivision ofthe U nited States Departm entof

     Justice and theUnittd StatesAttorney'sOftsct forthe Southern DistrictofFlorida. The United


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     States does notrelease defendantfrom any claim s underTitle 26,United States Code. Further,

     this Agreement in no way lim its,binds,orotherw ise affects the rights,pow ers or duties ofany

     state orIocallaw enforcem entagency orany adm inistrativeorregulatory authority.

                   Defendant agrees that if he fails to com ply w ith any of the provisions of this

     agreem ent,including the failure to tendersuch agreem entto the Court,m akesfalse orm isleading

     statem ents before the Coul'
                                torto any agentsofthe United States,com m its any furthercrim es,or

     attempts to withdraw the plea (priorto or after pleading guilty to the charges identifsed in
     paragraphsone(l)and two (2)above),the Governmentwillhave the rightto characterize such
     conductasa breachofthisagreement.lntheeventofsuch a breach:(a)theGovernmentwillbe
     free from its obligationsunderthe agreementand furtherm ay take w hateverposition itbelieves

     appropriateastothesentenceand theconditionsofthedefendant'srelease(forexample,should
     the defendantcom m itany conductafterthe date ofthis agreem entthatw ould form the basis for

     an increaseinthedefendant'soffenseIevelorjustify anupwarddeparture- examplesofwhich
     include butarenotlimited to,obstruction ofjustice,failure to appearfora courtproceeding,
     crim inalconductw hile pending sentencing,and false statem ents to Iaw enforcem entagents,the

     probation officer,orCourt- the Governm entis free underthis agreem entto seek an increase in

     the offense levelbased on thatpost-agreementconduct);(b)thedefendantwillnothavetheright
     towithdraw theguilty plea;(c)thedefendantshallbe fully subjectto criminalprosecutionfor
     any othercrimes which he has committed or mightcommit,ifany,including perjury and
     obstructionofjustice;and(d)thedefendantwaivesanyprotectionsaffordedby Section lBl.8(a)
     ofthe Sentencing Guidelines,Rule ll ofthc FederalRules of Crim inalProcedure and Rule 410

     ofthe FederalRules of Evidence,and the Governmentw illbe free to use againstthe defendant,
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     directly and indirectly,in any crim inalor civilproceeding any of the inform ation,statements,

     and m aterials provided by him pursuantto this agreem ent,including offering into evidence or

     otherwise using the A greed FactualBasisforGuilty Plea.

              26.   Thisisthe entire agreem entand understanding betw een the United States and the

     defendant. There are no otheragreem ents,prom ises,representationsorunderstandings.



                                            W IFREDO FERRER

                                             UN ITED STA TES ATTO RN EY
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                                             JOAQ       PE      , Q.
                                             COUN S      FOR RM AN DO GON ZA LEZ
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     1.ARM AN DO GO NZA LEZ,have consulted with m y counseland fully understand aII my rights
     with respectto the Indictment pending againstm e.Further.Ihave consulted with m y attorney and
     fully nnderstand my rights with respect to the provisions of the Sentencing Guidelines and Policy
     Statementswhich apply in m y case.Ihave read this Agreementand carefully reviewed every partof
     itwith my attorney.Iunderstand the Agreementand Ivoluntarily agree to it.Further,Iunderstand
     thatno one who has been convicted ofa felony offense m ay possess a firearm .lthas been explained
     to m ethatIcannotreceive afirearm now and w illnotbeable to possess,use orcany a firearm afterI
     am convicted.



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            A                                      efendant
                                                            NDOG
     1,JOAQUIN PEREZ,ESQ.have explained to the defendanthis rights w ith respectto the pending
     Indictm ent. Further, I have reviewed the provisions of the Sentencing Guidelines and Policy
     Statem ents,and Ihave fully explained to the defendanttheprovisionsofthose guidelinesw hich m ay
     apply inthecase.IhavecarefullyreviewedeveryjartoftheAgreementwiththedefendant.Tomy
     know ledge,the defendant'sdecision to enterinto thls     m e isan infonned and voluntary one.



     Date: ( /%
                                                  JOA UIN EREZ
                                                  Atto ey fo the Defendant




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